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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   IN RE SUBPOENAS ISSUED TO THE                     )
   FERRARO LAW FIRM in IN RE BESTWALL,               )
   LLC, CASE NO. 3:17-BK-31795-LTB,                  )      Miscellaneous Action
   PENDING IN THE BANKRUPTCY COURT                   )      Case No. 21-24360-MC-
   FOR THE WESTERN DISTRICT OF NORTH                 )      MORENO/GOODMAN
   CAROLINA.                                         )
   ________________________________________          )

   REPLY BRIEF IN SUPPORT OF THE FERRARO LAW FIRM’S MOTION TO QUASH
   OR MODIFY BESTWALL LLC’S SUBPOENA DUCES TECUM AND SUBPOENA AD
                             TESTIFICANDUM

          The Ferraro Law Firm (“Ferraro Law”) submits this reply (the “Reply”) in support of its

   Motion to Quash or Modify Bestwall LLC’s Subpoena Duces Tecum and Subpoena ad

   Testificandum [ECF No. 6] (the “Motion to Quash”). On January 24, 2022, Bestwall, LLC

   (“Bestwall”) filed its Opposition to the Ferraro Law Firm’s Motion to Quash or Modify Bestwall

   LLC’s Subpoena Duces Tecum and Subpoena ad Testificandum (the “Response”) [ECF No. 13].




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                                             ARGUMENT
         I.         The Subpoenas Seek Information Beyond the Scope of Rules 26 and 45.
                       a. Bestwall Has Been Inconsistent Regarding Necessary Information for
                          the Estimation Hearing.

          Bestwall must demonstrate that the information sought by way of the Subpoenas1 is

   “relevant to any party's claim or defense and proportional to the needs of the case[.]” Fed. R. Civ.

   P. 26(b)(1). Bestwall claims that the Subpoenas seek “crucial discovery,” Resp. at 12, relevant to

   the estimation proceeding in the Bankruptcy Case. However, Bestwall has not demonstrated that

   the information it seeks is “crucial,” let alone relevant to the estimation proceedings, as required

   by Rule 26(b).

          Tellingly, Bestwall has been inconsistent in its arguments before this tribunal (along with

   the District of Maryland and the Northern District of Texas)2 and in its recent arguments before

   the Bankruptcy Court regarding the information that it needs for the estimation proceedings. On

   October 28, 2021, Bestwall moved the Bankruptcy Court for an order “approving a sample of

   resolved Bestwall Mesothelioma Claims,” (the “Resolved Claim Sample”) which consisted of

   1,501 claims.3 Bestwall argued that the use of the Resolved Claim Sample would “eliminate the

   time-consuming process of gathering and reviewing additional files” and requested that the

   Bankruptcy Court “determine that the Resolved Claim Sample is appropriate for use in the

   estimation proceeding.” Ex. A at 3.




   1
     All capitalized terms not otherwise defined herein have the same meaning given in Ferraro Law’s
   Motion to Quash.
   2
     Bestwall made this same argument in response to motions to quash similar subpoenas pending
   before the District of Maryland and the Northern District of Texas. See Case No. 3:22-mc-00003-
   X-BT (N.D. T.X.), ECF No. 4 at 12; Case No. 1:21-cv-03257-SAG (D. MD.), ECF No. 13 at 14.
   3
     Motion of the Debtor to (A) Approve Resolved Claim Sample and (B) Authorize Related
   Disclosure Pursuant to Rule 502(D) of the Federal Rules of Evidence (the “Resolved Claim
   Sample Motion”) Bankr. Doc. No. 2183, attached hereto as Exhibit A, at 14.
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          While the motion seeking the Resolved Claim Sample was pending before the Bankruptcy

   Court, Bestwall issued the Subpoenas to Ferraro Law, as well as similar subpoenas to two other

   law firms, seeking information from a total of twenty-three (23) Selected Plaintiffs. However, the

   1501-claim sample Bestwall asked the Bankruptcy Court to approve did not include six of those

   twenty-three claims, all of which Bestwall has indicated in this proceeding (and in two others) are

   “crucial discovery.”4 See Ex. A at 22-49. Clearly, these six claims are not “crucial” if not included

   in Bestwall’s Resolved Claim Sample, and this inconsistency brings into question the “crucial”

   nature of the remaining Selected Plaintiffs’ claims.5

          Several other reasons dictate a finding that the information Bestwall seeks is not “crucial

   discovery,” (let alone relevant and proportional) to the estimation proceedings. As discussed

   below, Bestwall has mischaracterized the evidentiary purpose of trust claims, bankruptcy ballots,

   and Rule 2019 filings. Bestwall has further misrepresented an asbestos case in which Ferraro Law

   represented the plaintiff. Further, the Bestwall’s proportionality problem is exacerbated by the

   substantial burden that would befall Ferraro Law if it were ordered to sift through any and all

   information to ensure preservation of the attorney client privilege, work product protection, and

   any other applicable protections that are triggered by Bestwall’s decision to demand information

   from a law firm. See In re Zantac (Ranitidine) Prods. Liab. Litig., Case No. 20-md-2924, ECF No.

   5165 (Jan. 28, 2022 S.D. Fla.) (Reinhart, Mag. J.) (quashing in full a subpoena propounded upon



   4
     This includes the claims of Diane Danahy (GP.2E537AB), Fred Rich (GP.2DEC091), and Oliver
   Scarlett (GP.2E5327A), which were included as Selected Plaintiffs in the Subpoenas issued to
   Ferraro Law, and three other claims included in similar subpoenas issued by Bestwall to two other
   law firms. See Case No. 3:22-mc-00003-X-BT (N.D. T.X.), ECF Nos. 1-2 at 9-10 and 1-3 at 9-10;
   Case No. Case No. 1:21-cv-03257-SAG (D. M.D.), ECF Nos. 4-3 at 9; 4-4 at 9.
   5
     It further bears mentioning that Bestwall has appealed two orders issued by the District Court of
   Delaware related to similar subpoenas duces tecum issued to DCPF. The appeal has been
   calendared for March 17, 2022. See Bestwall LLC v. Armstrong World Indus. Inc. Asbestos
   Personal Injury Settlement Trust, et al., No. 21-2263 (3d Cir. Sept. 3, 2021), ECF No. 52.
                                                    5
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   an attorney whose professional obligations required him to review virtually all documents for

   privilege and other protections, which, inter alia, “create[d] an undue compliance burden”).

                      b. Bestwall Mischaracterizes the Evidentiary Purpose of Trust Claims,
                         Ballots, and Rule 19 Filings.

          In its Response, Bestwall argues erroneously that trust claims, ballots, and Rule 2019

   filings are proof of “exposure evidence.” Resp. at 16.6 Contrary to Bestwall’s explanation of the

   trust claims process, Resp. at 18-21, this process was “designed to require only evidence relevant

   to whether the predecessor defendant would have had liability to the plaintiff.” Ex. D at 93. Many

   asbestos trusts maintain “site lists,” or locations and time frames, where asbestos products were

   known to be present.7 A claimant therefore need only provide limited information (including data

   such as occupation(s), time period, and site location), to demonstrate an entitlement to file a proof

   of claim8 against that specific trust. Ex. D at 82. In other words, a claimant need not actually prove

   exposure in order to file a trust claim. Accordingly, the trust claims that Bestwall seeks from

   Ferraro Law are simply not relevant for purposes of the estimation proceedings.

          Further, Bestwall exaggerates the evidentiary import of bankruptcy ballots. Resp. at 21-22.

   Quite simply, a claimant’s submission of a bankruptcy ballot is not an allegation of exposure. The

   purpose of ballot submissions is to allow the bankruptcy court to account for all potential claims



   6
     Bestwall previously made these arguments in its Informational Brief of Bestwall LLC [Bankr.
   Doc. No. 12], attached hereto as Exhibit B, and its Motion of the Debtor for Estimation of Current
   and Future Mesothelioma Claims [Bankr. Doc. No. 875], attached hereto as Exhibit C. Ex. B at
   24-34; Ex. D at 8. These arguments were addressed, and debunked, by the Official Committee of
   Asbestos Personal Injury Claimants (the “ACC”) in its own Informational Brief of the Official
   Committee of Asbestos Claimants of Bestwall LLC [With Previously Redacted Sections] (the
   “Informational Brief”) [Bankr. Doc. No. 1318], attached hereto as Exhibit D, at 81-110.
   7
     A complete list of trusts that maintained site lists is included in the ACC’s Informational Brief.
   Ex. D at p. 95, Figure 11.
   8
     The Bankruptcy Code defines a proof of claim (or “claim”) as a “right to payment, whether or
   not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
   unmatured, disputed, undisputed, legal, equitable, secured or unsecured.” 11 U.S.C. § 101(5).
                                                     6
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   to ensure a successful reorganization of the debtor’s estate. Ex. D at 97. To submit a ballot, a

   claimant need only a good faith basis for believing that he or she may have a claim against a certain

   asbestos trust. A ballot does not require a claimant to submit any evidentiary proof and a ballot

   does not entitle a claimant to right to payment. Id. Turning to Rule 2019 filings, such filings are

   simply a statement of representation by counsel.9 They are not statements of claimants alleging

   exposure or a right to payment. Accordingly, the bankruptcy ballots and Rule 2019 filings Bestwall

   seeks also are not evidence of exposure to asbestos and have no relevance to the estimation

   proceedings.

          Lastly, other sources of information exist to aid Bestwall’s agenda in the estimation

   proceedings. For example, a significant amount of information regarding each bankruptcy trust’s

   criteria for paying a claim is publicly available.10 According to Bestwall’s consultants, this

   information is customarily used by asbestos defendants to assess their own settlement strategies.11

   Bestwall has presented no reason why it cannot use such information in its own estimation process.

                  c. In Light of the Parties’ Relative Access to the Requested Information and
                     the Parties’ Relative Resources, the Subpoenas are Unduly Burdensome.

          Bestwall argues that the burden on Ferraro Law in complying with the Subpoenas is

   “minimal by comparison” to the efforts it would need to undertake to obtain this information by




   9
      Bankruptcy Rule 2019(b) requires “every group or committee that consists of or represents . . .
   multiple creditors . . . that are . . . acting in concert to advance their common interests” to file “a
   verified statement” setting forth certain information, such as the identity of group members and
   their economic interests. Fed. R. Bankr. P. 2019(b).
   10
      Including “payment percentage” (the percentage that a bankruptcy trust’s resources permit them
   to pay against the liquidated value of an accepted claim), a “scheduled value” for each recognized
   type of asbestos disease compensable by the trust, a “maximum value” (the most the trust will pay
   for a liquidated claim), and an “average value” (the average liquidated claim in a specific diagnosis
   category). Ex. D at 96.
   11
       Ex. D at 96 (citing February 3, 2011 Dep. Tr. of Charles E. Bates, Ph.D. at 24:9-14, In re
   Specialty Prods. Holding Corp., Case No. 10-11780 (Bankr. D. Del.)).
                                                     7
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   other means. Resp. at 26. However, Bestwall fails to consider either the parties’ relative access to

   the information or the parties’ relative resources. See Fed. R. Civ. P. 26(b)(1) (requiring the court

   to consider the “parties’ relative access to relevant material information” and the “parties’

   resources”). Bestwall is a corporation whose litigation costs are fully funded by Georgia-Pacific,12

   and is represented by large firms with significant operating capacities and highly experienced

   attorneys. It already has, by its own admission, a great deal of the information it seeks from Ferraro

   Law and has alternative avenues for obtaining that information.13 In contrast, the efforts Ferraro

   Law would need to undertake in producing the information Bestwall seeks can hardly be described

   as “minimal.” As described in the Jagolinzer Affidavit, compliance with the Subpoenas would

   place a considerable burden on Ferraro Law.14 See Jagolinzer Affidavit, ¶¶ 4-14.

                  d. Bestwall is not “Entitled” to the Information it Seeks.




   12
       According to the Second Amended and Restated Funding Agreement (the “Funding
   Agreement”), attached hereto as Exhibit E, by and between Bestwall and Georgia-Pacific LLC
   (“New GP”), a separate successor to Old GP, New GP has agreed to pay “any and all costs and
   expenses of [Bestwall] incurred during the pendency of any Bankruptcy Case that are necessary
   or appropriate in connection therewith,” including ordinary course costs and expenses, and “any
   ancillary costs and expenses of [Bestwall] associated with such Asbestos Related Liabilities and
   any litigation thereof.” Ex. E at 5.
   13
      See Resp. at 16 (admitting that “Bestwall has an interest in receiving these clearly non-privileged
   documents to ensure it has the complete set of any such documents …”) and at 21 (admitting that
   it can obtain bankruptcy filings it seeks from Ferraro Law “by … requesting access in the
   bankruptcy courts where the exhibits are filed off the docket …”).
   14
      It further bears mentioning that, while Bestwall relies on proceedings in Stevenson v. Brenntag
   N. Am. Inc., No. 6:17-cv-417 (M.D. Fla. 2017) to argue that “all of the asbestos exposure-related
   documents Bestwall requests are easily accessible for production by Ferraro[,]” Resp. at 24, the
   testimony that Bestwall cites does not support this argument. Indeed, the testimony by employees
   of Ferraro Law outlined the firm’s general policies regarding file management. However, the
   circumstances in Stevenson presented an example in which certain bankruptcy filings were
   (inadvertently) not contained in a specific client’s file. Accordingly, compliance with the
   Subpoenas would require the Law Firm to search in and outside the Selected Plaintiffs’ case files—
   a massive undertaking by the firm, as described in the Jagolinzer Affidavit. See Jagolinzer
   Affidavit, ¶¶ 4-14.
                                                     8
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          Bestwall further argues that the Subpoenas are not burdensome because it is “entitled” to

   examine certain documents in Ferraro Law’s possession (documents which it also has) so that it

   can “ensure it has the complete set of any such documents allegedly showing disclosure, and to

   avoid a future allegation by [Ferraro Law] (or the parties in the Bankruptcy Case) that Ferraro Law

   possesses some other document showing disclosure of exposures to Bestwall.” Resp. at 22.

   Bestwall presents absolutely no authority to support its contention in this regard.15 Irrefutably, it

   is not incumbent upon Ferraro Law, or any third party, to assist Bestwall with its own record-

   keeping. Bestwall’s reasoning in this regard perverts the purpose of discovery and it highlights the

   purpose of the protections afforded non-parties under the Federal Rules. See Cytodyne Techs.,

   Inc. v. Biogenic Techs., Inc., 216 F.R.D. 533, 535 (M.D. Fla. 2003) (“…non-party status is

   considered by the court in weighing the burdens imposed in providing the requested discovery.”).

          Further, Bestwall relies on Martino v. Kiewitt N.M. Corp., 600 F. App’x. 908, 911 (5th

   Cir. 2015) to support its contention that it is entitled to documents or information already in

   Bestwall’s possession. As the Court will quickly ascertain in reviewing that authority, this case

   does not support Bestwall’s extraordinary argument in this regard. Martino concerned disclosures

   pursuant to Civil Rule 26(a)(1)(A), which requires “parties to make certain initial disclosures in

   most civil cases.”16 Rules and Commentary, Rule 26. Duty to Disclose; General Provisions

   Governing Discovery, 1 Federal Rules of Civil Procedure. Specifically exempted from the




   15
      Similarly, Bestwall has produced no authority supporting why it is “entitled,” as it contends it
   is, Resp. at 16, to examine Ferraro Law about communications with Bestwall during settlement
   negotiations in the Selected Plaintiffs’ cases.
   16
      The plaintiff in Martino failed to disclose a certain document in its possession that the plaintiff
   alleged was a “public document, equally available to both parties.” 600 F. App'x at 911. The court
   rejected this argument, stating that “even if a document is publicly available or in the opposing
   party's possession, a party must still disclose it under Rule 26(a)(1)(A) to provide notice of
   evidence central to its claims or defenses.” Id. (emphasis added).
                                                     9
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   mandatory initial disclosure requirement is “an action to enforce or quash an administrative

   summons or subpoena.” Fed. R. Civ. P. 26(a)(1)(B)(v). Thus, Ferraro Law is indisputably not a

   “disclosing party” for purposes of Civil Rule 26(a)(1)(A), and Martino is wholly inapplicable in

   these circumstances.

        II.   Bestwall Does Not Have Evidence that Ferraro Law Withheld Exposure
              Evidence.

          In the Response, Bestwall paints an entirely misleading picture of (allegedly) rampant

   fraudulent litigation against it and other asbestos manufacturers. See Resp. at 12-14 & 23. Bestwall

   relies heavily on a wholly separate bankruptcy case, In re Garlock Sealing Techs., 504 B.R. 71, 83

   (Bankr. W.D.N.C. 2014), in which the court discussed tort litigation against Garlock by a certain

   five law firms and focused on fifteen (15) specific cases. Bestwall fails to mention that Ferraro

   Law was not among those five firms, nor were any of the Selected Plaintiffs among those 15 cases.

   Accordingly, Bestwall’s reliance on Garlock in support of the Subpoenas is plainly misplaced.

   Further, as discussed below, many of Bestwall’s allegations regarding a case that was litigated by

   Ferraro Law were previously debunked by the ACC.

                  a. Plaintiff A
          Bestwall’s account of Plaintiff A’s case against Bestwall is misleading. Bestwall alleges

   that Plaintiff A “repeatedly claimed his only asbestos exposure was to Bestwall joint compound

   that occurred during his work as a painting supervisor in 1977-78 for a U.S. defense contractor in

   Saudi Arabia.” Resp. at 13. Bestwall accuses Ferraro Law of “fail[ing] to disclose evidence of

   exposure to other companies’ products” because Ferraro Law cast bankruptcy ballots for Plaintiff

   A in two bankruptcy trusts. Importantly, Bestwall overstates the evidentiary import of a bankruptcy

   ballot. As discussed above, a ballot is not a claim and does not constitute proof of exposure. Thus,




                                                   10
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   filing ballots on behalf of Plaintiff A in other bankruptcy trusts does not constitute a failure to

   disclose “evidence of exposure.”

          Indeed, though Bestwall avers that it “has other evidence” suggesting that Ferraro Law

   withheld exposure evidence, it has not presented any credible information in this regard. Rather,

   Bestwall has candidly admitted that it is motivated by an unfavorable verdict in Plaintiff A’s case

   in seeking information from Ferraro Law. See Resp. at 12 (admitting that Plaintiff A’s trial

   “resulted in a plaintiff’s verdict for $17 million, with Bestwall assigned 55% of the liability for the

   damages,” which “was one of only two unreversed plaintiff’s verdicts against Bestwall in the seven

   years before Bestwall’s bankruptcy petition”).



                      b. Sikorska Affidavit
          Bestwall’s argument that the information it seeks regarding the Sikorska Affidavit is

   relevant to the estimation proceedings relies (again) on the erroneous supposition that a bankruptcy

   ballot is the evidentiary equivalent of a claim. See Resp. at 23. As discussed above, a bankruptcy

   ballot is not a claim, and does not constitute evidence of exposure. Accordingly, the information

   Bestwall seeks regarding the Sikorska Affidavit is not relevant to the estimation proceedings.

                      c. Dahlgren Article

          Bestwall argues that the information it seeks about the Dahlgren Article is within the scope

   of Civil Rule 26 and 45 because “[t] he Dahlgren Article has been used against Bestwall in several

   cases since 2012 as a basis to claim Bestwall’s joint compound products were hazardous” and that

   Ferraro Law “used the article in cross-examining Bestwall’s expert in Plaintiff A’s trial.” Resp. at

   23.

          First, Bestwall does not dispute that it has equal access to, or already possesses, the

   information that it seeks from Ferraro Law. Indeed, Bestwall cites trial transcripts in which James

                                                     11
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   Dahlgren testified in its Response. Resp. at 23. Yet, Bestwall contends that it is “entitled to depose

   Ferraro about its use [sic] the Dahlgren Article in cases against Bestwall, to understand the impact

   an article based on incorrect evidence may have had on Bestwall’s settlement history.” Id.

   Bestwall’s circular reasoning does not satisfy the requirements of Civil Rules 26 and 45: this

   argument does not demonstrate that this information is relevant or proportional to the needs of the

   estimation hearing.

          Second, as discussed in the Motion to Quash, the information Bestwall seeks concerning

   Ferraro Law’s “use” of the Dahlgren Article indisputably encroaches on information that is

   protected by the attorney work-product doctrine. Deposing Ferraro Law regarding its trial

   strategies is clearly an impermissible intrusion into an attorney’s work. Though Bestwall claims

   that it seeks only “nonprivileged” information, Resp. at 18, this claim is belied by the fact that

   Bestwall already has trial transcripts and access to the public court dockets. Accordingly, Bestwall

   already has sufficient access to any nonprivileged information that it seeks regarding Ferraro

   Law’s use of the Dahlgren Article in Plaintiff A’s case against Bestwall.

       III.       The Shelton Standard Applies in these Circumstances and Bestwall has Failed
                  to Meet it.

          It is Bestwall’s (flawed) position that the test for deposing counsel that was established in

   Shelton v. American Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986) does not apply in these

   circumstances because Ferraro Law “has never been counsel to a party to the estimation proceeding

   in the Bankruptcy Case.” Resp. at 17. Bestwall fails to account for the fact that Ferraro Law is

   asbestos counsel for numerous potential creditors to the bankruptcy estate, and therefore, “parties

   in interest” to the estimation hearing. As noted in the Motion to Quash, the information Bestwall

   seeks involves legal decisions and work product created during the course of Ferraro Law’s

   representation of the Selected Plaintiffs, and those same analyses and work product would be

                                                    12
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   relevant to the pending claims of other claimants as well as the estimation thereof. Accordingly,

   the protections of Shelton extend to Ferraro Law, see Desert Orchid Partners, L.L.C. v. Transaction

   Sys. Architects, Inc., 237 F.R.D. 215, 219–20 (D. Neb. 2006), and though Bestwall claims to have

   satisfied the high standard of Shelton, it has not: (1) as described in the Motion to Quash and

   throughout this Reply, Bestwall has other means for obtaining the information sought by the

   Subpoenas; (2) Bestwall has neither demonstrated that the information is relevant or

   nonprivileged; and (3) Bestwall has not demonstrated that this information is “crucial” to

   Bestwall’s case in the estimation proceedings.

          Should the Court determine that Shelton standard does not apply in these circumstances,

   Bestwall must still “demonstrate that there has a been a waiver of the attorney-client privilege and

   that the work product privilege has either been waived or that the standard of the Federal Rule of

   Civil Procedure 26(b)(3) has been satisfied.” Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726,

   731 (8th Cir. 2002). Bestwall has plainly failed to meet these requirements: as discussed above,

   Bestwall has not demonstrated a substantial need for deposing Ferraro Law, nor has it

   demonstrated that it cannot obtain this information by other means. 17

                                            CONCLUSION

          WHEREFORE, Ferraro Law respectfully requests that the Court issue an Order quashing

   the Subpoenas or, in the alternative, modifying the Subpoenas to conform with the requirements

   of Federal Rules 26 and 45, and to grant Ferraro Law any other relief as is just and proper under

   the circumstances.




   17
     Under subsection (b)(3) of Civil Rule 26, a party may not discover privileged information unless
   “(i) they are otherwise discoverable under Rule 26(b)(1); and (ii) the party shows that it has
   substantial need for the materials to prepare its case and cannot, without undue hardship, obtain
   their substantial equivalent by other means.” Fed. R. Civ. P. 26(b).
                                                    13
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               This, the 22nd day of February, 2022.

                                            WALDREP WALL BABCOCK
                                            & BAILEY PLLC

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                                  CERTIFICATE OF SERVICE

          This is to certify that a copy of the foregoing document was served on all attorneys of
   record in the above entitled and number cause via CM/ECF this, the 22nd day of February, 2022.


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